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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:04-cr-00006-MP-AK

BENJAMIN HAYDEN,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 654, Motion Correct a Clerical Error by

Benjamin Hayden. The Government is hereby directed to file a response by Wednesday, May

31, 2006.


       DONE AND ORDERED this 17th day of May, 2006


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
